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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF RHODE ISLAND


                                                         )
   CVS PHARMACY, INC.,                                   )
                                                         )
                         Plaintiff,                      )
                                                         )
           v.                                            )    Civil Action No. 19-cv-00204 (JJM)
                                                         )
   JOHNLAVfN,                                            )
                                                         )
                       Defendant.                        )
   ______________________________ )
                      :fl         IIIO]:STIPULATED PROTECTIVE ORDER

          T he patties hereto, having stipulated and agreed by and through their respective counsel

   to the entry of a Protective Order pursuant to Federal Rule of Civ il Procedure Rule 26(c), and the

   Court having approved the same, IT IS HEREBY ORDERED THAT:

   I.      Des ignation of Materials as "CONFIDENTIAL" or "IDGHLY CONFIDENTIAL"

          Any patty in this action, or any third party w itness or entity producing materials or

   providing testimony for use in this action (he reinafter "the designating party"), shall have the

   right to designate as "CONFIDENTIAL" or "IDGHLY CONFIDENTIAL" any document,

   information, or other form of evide nce or discovery the patty or third patty w itness or e ntity

   believes, in good faith, embodies, contains or reflects such information as defined herein.

          a.      "CONFIDENTIAL" information relates to all confidential, private, product,

   business, commercial, or financial information and all information of a proprietary technical

   nature that the designating party believes might be of value to an actual or potential competitor

   of the designating patty and that the designating party reasonably believes should be p rotected

   from disclosure, including, without limitation, information or tangible things that qualify fo r

   protectio n under Federal Rule of Civil Procedure 26(c).


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           b.      "HIGHLY CONFIDENTIAL" information relates to business, marketing, sales,

   and distribution information, the disclosure of which the designating party believes, in good

   faith, may cause harm to the competitive position of the designating party, including (I) business

   plans and strategic documents, including unpublished financial data and pricing information; (2)

   new business development (for new and old projects); (3) marketing plans; (4) competitor

   market analysis; (5) customer lists, customer sales data, and other non-public customer

   information; (6) distributor and supplier agreements and licenses; (7) agreements with sales

   representatives; (8) business relationships with third parties; and (9) third party information

   designated by the third party as Highly Confidential Infonnation.

           c.     Access to certain highly sensitive materials provided in electronic form may be

   further limited by agreement of the parties or by order of the comt.

   2.     Restriction on Use and Disclosure of Designated and Non-Designated Materials

          No documents, information, or things designated as "CONFIDENTIAL," or "HIGHLY

   CONFIDENTIAL," nor any information derived therefrom, shall be disclosed to any person or

   entity except as set forth in paragraphs [6], [7], [8], and [9] of this Protective Order. No person

   shall use any material designated "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" or any

   information derived therefrom, for any purpose other than to assist counsel of record in the

   preparation and trial of this action. Counsel for each patty shall take reasonable precautions to

   prevent the unauthorized or inadvertent disclosure of any designated confidential material.

   3.     Marking of Designated Materials

          A designation as to documents shall be made by placing a legend on each page of any

   document that a designating patty wishes to protect against unauthorized use or disclosure prior

   to or at the time of the provision of a physical or electronic copy thereof to a receiving party.



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   The legend shall state: "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL." The designation

   as to things as to which inspection or sampling has been agreed to, or which are tangible objects

   containing designated infonnation, shall be made by placing a "CONFIDENTIAL" or "HIGHLY

   CONFIDENTIAL" legend in the form described above on the thing or the container in which it

   is stored.

           All "CONFIDENTIAL" or "HlGHL Y CONFIDENTIAL" material not reduced to

   documentary, tangible, or physical form or which cannot be conveniently designated as set fotih

   herein (e.g. physical objects or electronic data), may be designated by the designating party by

   informing all receiving patiies of the designation in writing. To the extent that the receiving

   patiies generate printouts of such material (or portions thereof), the printouts must have the

   "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" legend properly affixed therein.

   4.      Designation of Deposition Testimony

           Any party or deponent may unilaterally designate potiions of a deposition transcript as

   "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" provided such designation is either (a)

   made on the record during the deposition, in which case the transcript of the designated

   testimony shall be bound in a separate volume and marked either "CONFIDENTIAL" or

   "HIGHLY CONFIDENTIAL" by the reporter, or (b) made by written notice to all counsel of

   record, given within 30 calendar days after a copy of the official deposition transcript is received

   by the deponent or his counsel, in which case all counsel receiving a transcript shall be

   responsible for marking the copies of the designated transcript in their possession or under their

   control as directed by the designating patty. Unless othetwise agreed to in writing by the parties

   or ordered by the Court, all depositions shall be treated as "CONFIDENTIAL" until 30 calendar

   days after a copy of the official deposition transcript is received by the deponent or his counsel.



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   The designating party shall have the right to exclude from a deposition, before the taking of

   testimony which the designating party designates "CONFIDENTIAL" or "HIGHLY

   CONFIDENTIAL," and subject to this Protective Order, all persons other than those persons

   previously qualified to receive such information pursuant to the terms of this Protective Order.

   For purposes of this Protective Order, a "business day" means a day on which the offices of the

   Couti are regularly open.

            This Order shall not prevent counsel from examining a witness in a good-faith effort to

   determine whether he or she authored, received, or previously had access to or knowledge of

   documents designated "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL."

            5.     lnadvettent Failures to Designate. If timely cotTected, an inadvetient failure to

   designate information or items as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" does

   not, standing alone, waive the designating party's right to secure protection under this Order for

   such material. Upon timely correction of a designation, the Receiving Patty must make

   reasonable efforts to ensure that the material is treated in accordance with the provisions of this

   Order.

            6.     Filing Designated Materials

            Any materials which are filed with the Court for any purpose and which are designated

   "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" shall be filed in accordance with the

   procedures set forth in the Local Rules of the United States District Court in which the case is

   pending.

              These procedures for filing and disclosure of"CONFIDENTIAL" and "HIGHLY

   CONFIDENTIAL" information with the Comt shall apply only to pretrial proceedings. If

   necessary, the parties shall propose to the Comt procedures for the filing and disclosure of



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   "CONFIDENTIAL" and "HIGHLY CONFIDENTIAL" information with regard to any

   evidentiary hearing and/or trial.

   6.     Access to "CONFIDENTIAL" Materials

          Unless otherwise ordered by the Court or permitted in writing by the designating patty, a

   receiving patty may disclose any information or item designated "CONFIDENTIAL" only to:

                  (a) outside counsel of record in this action for the receiving party or the receiving

   patty's employer, in-house attorneys for the receiving party or the receiving party's employer, as

   well as employees of said outside counsel of record or in-house attomeys to whom it is

   reasonably necessary to disclose the infmmation for this litigation;

                  (b) the officers, directors, and employees of the receiving patty or the receiving

   patty's employer to whom disclosure is reasonably necessary for this litigation and who have

   signed the "Acknowledgment and Agreement to Be Bound" (Exhibit A);

                  (c) experts of the receiving patty, specifically retained in and for this matter and

   subject to the provisions of paragraph 11 below, to whom disclosure is reasonably necessary for

   this litigation and who have signed the "Acknowledgment and Agreement to Be Bound" (Exhibit

   A);

                  (d) the Court and its personnel;

                  (e) court repotters and their staff;

                  (f) professional jury or trial consultants, and mock jurors, to whom disclosure is

   reasonably necessary for this litigation and who have signed the "Acknowledgement and

   Agreement to Be Bound" (Exhibit A);




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                      (g) professional vendors providing litigation support services (e.g., stenography,

   photocopying, imaging, videotaping, translating) to whom disclosure is reasonably necessary for

   this litigation;

                      (h) during their depositions, witnesses in the action to whom disclosure is

   reasonably necessary and who have signed the "Acknowledgement and Agreement to Be Bound"

   (Exhibit A), unless otherwise agreed by the designating pmty or ordered by the Court. Pages of

   transcribed deposition testimony or exhibits to depositions that reveal material designated

   "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" may not be disclosed to anyone except as

   permitted under this Stipulated Protective Order;

                      (i) the author or recipient of a document containing the infonnation or a custodian

   or other person who otherwise possessed or knew the infmmation;

                      (j) any mediator or other person engaged in alternative dispute resolution who is

   assigned or retained to hear this matter, and his or her staff, subject to their agreement to

   maintain confidentiality to the same degree as required by this Protective Order;

                      (k) any other person(s) as to whom the Parties mutually agree in writing, or as

   ordered by the Court.

   7.         Access to "HIGHLY CONFIDENTIAL" Materials

              Unless otherwise ordered by the Comt or permitted in writing by the designating patty, a

   receiving patty may disclose any information or item designated "HIGHLY CONFIDENTIAL"

   only to:

                      (a) outside counsel ofrecord in this action for the receiving party or the receiving

   party's employer, as well as employees of said outside counsel of record to whom it is

   reasonably necessary to disclose the information for this litigation;



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                      (b) expetts of the receiving party, specifically retained in and for this matter and

   subject to the provisions of paragraph II below, (I) to whom disclosme is reasonably necessary

   for this litigation, (2) who have signed the "Acknowledgment and Agreement to Be Bound"

   (Exhibit A), and (3) as to whom the procedures set f01th in Paragraph 8, below, have been

   followed and no unresolved objections to such disclosure exist after proper notice has been given

   to the designating party;

                      (c) the Court and its personnel;

                      (d) coutt reporters and their staff;

                      (e) professional jury or trial consultants, and mock jurors, to whom disclosure is

   reasonably necessary for this litigation and who have signed the "Acknowledgment and

   Agreement to Be Bound" (Exhibit A);

                      (f) professional vendors providing litigation support services (e.g., stenography,

   photocopying, imaging, videotaping, translating) to whom disclosure is reasonably necessary for

   this litigation;

                      (g) the author or recipient of a document containing the information or a

   custodian or other person who otherwise possessed or knew the information; and

                      (h) any mediator or other person engaged in alternative dispute resolution who is

   assigned or retained to hear this matter, and his or her staff, subject to their agreement to

   maintain confidentiality to the same degree as required by this Protective Order;

                      (i) any other person(s) as to whom the Parties mutually agree in writing, or as

   ordered by the Coutt.




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   8.     Procedure for Approving or Objecting to Disclosure of "HIGHLY CONFIDENTIAL"

   Information or Items to Experts

                  (a) Unless otherwise ordered by the Court or agreed to in writing by the

   designating party, a party that seeks to disclose to an expeti, specifically retained in and for this

   matter and subject to the provisions of paragraph 11 below, any information or item that has

   been designated "HIGHLY CONFIDENTIAL" pursuant to section 7.3(c) first must make a

   written disclosure to the designating patiy that (I) sets forth the full name of the Expert and the

   city and state of his or her primary residence, (2) attaches a copy of the Expert's current resume,

   and (3) includes a copy of Exhibit A signed by the Expeti.

                  (b) A patiy that makes a request and provides the information specified in the

   preceding paragraph may disclose the specific information or item marked "HIGHLY

   CONFIDENTIAL" to the identified Expeti unless, within 14 days of delivering the request, the

   party receives a written objection from the designating party. Any such objection must set fotih

   in detail the grounds on which it is based. If the designating party determines in less than 14

   days that it has no objections to the disclosure, it shall endeavor to inform the requesting patiy as

   soon as practicable.

                  (c) A patiy that receives a timely written objection must meet and confer with the

   designating party (through direct voice to voice dialogue) to try to resolve the matter by

   agreement within seven (7) days of the written objection. If no agreement is reached, the patiy

   seeking to make the disclosure to the expeti may file a motion seeking permission from the Comi

   to do so. Any such motion must describe the circumstances with specificity, set fmih in detail the

   reasons why the disclosure to the expert is reasonably necessary, assess the risk of harm that the

   disclosure would entail, and suggest any additional means that could be used to reduce that risk.



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   In addition, any such motion must be accompanied by a competent declaration describing the

   parties' efforts to resolve the matter by agreement (i.e., the extent and the content of the meet and

   confer discussions) and setting fotth the reasons advanced by the designating patty for its refusal

   to approve the disclosure.

             In any such proceeding, the patty opposing disclosure to the expert shall bear the burden

   of proving that the risk of harm that the disclosure would entail (under the safeguards proposed)

   outweighs the receiving patty's need to disclose the "HIGHLY CONFIDENTIAL" material to its

   expett.

   9.        Disclosures to Authors and Previous Recipients

             Documents or material marked "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL"

   may be disclosed to any person who appears as an author, addressee, or recipient on the face of

   the document.

   10.       Retention of Confidential Materials

             All materials designated "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL," and any

   and all copies or reproductions thereof, shall be retained (except otherwise provided in paragraph

   number 13 hereof) for the pendency of the litigation as follows:

                    (a)    materials designated "CONFIDENTIAL" are to be retained by the persons

   listed in subparagraph (a) of paragraph 6 hereof and in-house counsel to the parties, provided that

   in-house counsel has signed the "Acknowledgement and Agreement to Be Bound" (Exhibit A);

                    (b)    materials designated "CONFIDENTIAL" and either filed with the Comt

   or served as a written discovery response or as an expett disclosure may be retained by the

   persons listed in subparagraph (b) of paragraph 6 hereof, provided they have signed the

   "Acknowledgment and Agreement to Be Bound" (Exhibit A);



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                    (c)     materials designated "HIGHLY CONFIDENTIAL" are to be retained by

    the persons identified in subparagraph (a) of paragraph 7 hereof; and

                    (d)     independent expetts authorized to view designated materials under the

    terms of this Protective Order may retain custody of copies of such materials as may be

    necessary for their patticipation in this litigation.

    11.     Discovery Sought from Third Parties

            A copy of this Protective Order shall be fumished to each third patty required to produce

   documents or otherwise formally disclose information in response to discovery requests in this

   Action. Such third parties may elect to avail themselves of, and agree to be bound by, the terms

   and conditions of, this Protective Order by executing a copy of the "Acknowledgment and

   Agreement to Be Bound" (Exhibit A).

            In the event that any party, having possession, custody, or control of any materials

   designated "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" by any other patty or any third

   patty witness or entity, receives a subpoena or other process or order to produce such materials

   in another, unrelated legal proceeding from a non-party to this action, such party shall promptly

   notify counsel for the disclosing patty of the subpoena or other process or order, furnish counsel

   for the disclosing party with a copy of said subpoena or other process or order and cooperate

   with respect to all reasonable procedures sought to be pursued by the disclosing patty whose

   interests may be affected. The party having designated such materials as "CONFIDENTIAL" or

   "HIGHLY CONFIDENTIAL" shall have the burden of defending against such subpoena,

   process, or order.

   12.     Inadvettent Production of Privileged or Personal Materials




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           If the producing party notifies the receiving party in writing that it has inadveJtently

   produced documents and/or things that are protected from disclosure under attorney-client

   privilege, work-product immunity, and/or any other applicable privilege or immunity from

   disclosure or contain non-relevant personal information, the receiving party shall return all

   copies of such documents and/or things to the producing pmty within I 0 business days of receipt

   of such notice or confirm in writing that all electronic copies have been deleted and all hard

   copies have been destroyed, except that the receiving pa1iy may retain one copy of the disputed

   documents and/or things solely for the purpose of challenging the claim of privilege, protection,

   or personal information. The receiving pa1iy shall not fmiher disclose or use such items for any

   other purpose until further order of the court. Such inadvertent production shall not constitute a

   waiver of the attorney-client privilege or work production immunity or any other applicable

   privilege, is this procedure is followed.

          Within 30 calendar days following the return or destruction request by the producing

   pmiy, the receiving party shall either (I) file a motion to challenge the propriety of the producing

   party's claim for the disputed documents and/or things or (2) return its retained copy of the

   disputed documents and/or things or confirm in writing that it has destroyed its retained copy of

   the disputed documents and/or things.

          Nothing herein shall prevent the receiving party from challenging the propriety of the

   designation by submitting a written challenge to the Comi by filing an appropriate motion with

   the Comi within the 30 calendar day time frame. In connection with such motion practice, the

   burden of establishing the propriety of the return or destruction request shall remain on the pa1iy

   making it.

   13.    Disposition ofDesignated Materials at Conclusion of Case



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           Within 60 calendar days of the adjudication or resolution through settlement of the claims

   at issue herein, unless otherwise agreed to in writing by an attorney of record for the designating

   patty, each patty shall either (a) cettify that they have effected the destruction of all designated

   materials, including all copies and extracts thereof, in their possession, custody, or control in

   such a manner that would preclude any person or entity from accessing the information

   contained therein, or (b) assemble and return all designated materials, including all copies and

   extracts thereof, to the pmty or third party witness or entity from whom it was obtained.

          Notwithstanding the foregoing, outside counsel of record shall be entitled to maintain all

   correspondence, pleadings, motions, and other materials submitted to the Court (including all

   supporting and opposing papers and exhibits thereto), written discovery requests and responses

   (and exhibits thereto), deposition transcripts (and exhibits thereto), trial transcripts, and exhibits

   offered or introduced into evidence at trial, as well as any drafts, internal memorandums and

   other work product which were based upon or include "CONFIDENTIAL" or "HIGHLY

   CONFIDENTIAL" information. In the event that outside counsel maintains such documents, it

   shall not disclose materials containing any "CONFIDENTIAL" or "HIGHLY

   CONFIDENTIAL" information to any other pmty or third patty absent subpoena or coutt order.

   Counsel likewise need not purge their email, document management systems, or back-up tapes,

   provided, however, that any "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" information

   contained in such documents retained by outside counsel shall remain subject to the protections

   of this Protective Order.

   14.    Miscellaneous Provisions

                  (a)     This Protective Order shall be without prejudice to the right of any patty

   or any third party witness or entity to bring before the Court at any time the question of (a)



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   whether any particular information is confidential; or (b) whether any particular infmmation is

   relevant to any issue of this case. Upon such hearing, the patty asserting confidentiality or

   relevance shall have the burden of establishing the same.

                  (b)     Neither the taking of any action in accordance with the provisions of this

   Protective Order, nor the failure to object thereto, shall be construed as a waiver of any claim or

   defense in this action. Moreover, neither the failure to designate information in accordance with

   this Protective Order, nor the failure to object to a designation at a given time, shall preclude the

   filing of a motion at a later date seeking to impose such designation or challenging the propriety

   thereof. The entry of this Protective Order shall not be construed as a waiver of any right to

   object to the furnishing of information in response to discovery or to object to a requested

   inspection of documents or things, and, except as expressly provided, shall not relieve any party

   of the obligation of producing information in the course of discovery.

          The inadvettent or unintended disclosure of materials designated "CONFIDENTIAL" or

   "HIGHLY CONFIDENTIAL" by a producing patty, or the failure to initially designate materials

   as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" under this Protective Orde.r, shall not

   be deemed a waiver of any claim for protection, provided the producing party gives reasonably

   prompt notice, after discovery of said inadvettent or unintended disclosure or the failure initially

   to designate, that the materials should be treated confidential in accordance with the provisions

   of this Protective Order. Upon such notice, the receiving party must treat the material as

   "CONFIDENTIAL," or "HIGHLY CONFIDENTIAL," and must then make a good faith effott

   to advise any person to whom such materials may have been disclosed as to the change in

   designation and the manner in which such materials should thereafter be treated. At the request

   of the producing party, all receiving parties immediately shall return all copies of such



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    incorrectly designated document(s) and the producing party shall provide appropriately marked

    replacement copies for all receiving patties. Nothing herein shall prevent the receiving party

    from challenging the confidentiality designation by submitting a written challenge to the Court.

                   (c)    A party may object to the designation as "CONFIDENTIAL" or

   "HIGHLY CONFIDENTIAL" by giving written notice to the party designating the disputed

    information. The written notice shall identify the information to which the objection is made.

   The designating party shall then have 1 business day after being provided notice to provide the

   objecting party with a written explanation of the reason for the designation. If the parties are

   unable to resolve the objection within 1 business day after the designating party supplies the

   objecting party with a written explanation of the reasons for the designation, the patty or parties

   objecting to the designation of materials as "CONFIDENTIAL" or "HIGHLY

   CONFIDENTIAL" shall have I business day after the conclusion of the negotiation period

   within which to file a motion compelling the reclassification of the materials in dispute. The

   patty or patties producing the materials designated as "CONFIDENTIAL" or "HIGHLY

   CONFIDENTIAL" shall have the burden of establishing that good cause exists for maintaining

   the designation under this Protective Order. The disputed information shall be treated as

   designated (i.e., "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL") until the CoUtt rules on

   the motion.

                  (d)     In the event anyone shall violate, or threaten to violate, the terms of this

   Protective Order, the patties agree that the aggrieved party may immediately apply to obtain

   injunctive relief against any violation or threatened violation, and in the event the aggrieved

   party shall do so, the respondent, subject to the provisions of this Protective Order, shall not

   employ as a defense thereto any claim that the aggrieved party possesses an adequate remedy at



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   law. The parties and any other person subject to the terms of this Protective Order agree that this

   Protective Order shall continue to be binding after termination of this litigation, except with

   respect to those documents and infonnation that become a matter of public record. The Court

   retains and shall have continuing jurisdiction over the parties and recipients of materials

   designated as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" for enforcement of the

   provisions of this Protective Order following termination of this litigation.

                  (e)     Entry of this Protective Order is without prejudice to any party or third

   party seeking to impose further restrictions on the dissemination of materials designated as

   "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" in this action, or seeking to rescind,

   modify, alter or amend this Protective Order with respect to specific documents or information.

   The party seeking such relief shall first attempt in good faith to resolve the matter informally by

   setting forth, in writing, the proposed changes and the reasons for the proposed changes, and

   shall give the responding patty at least 5 business days to address the issues. This Protective

   Order may be modified by written agreement of the parties and approval of the Court. If the

   matter cannot be resolved within an additional I 0 business days, the party seeking relief may

   then apply for a suitable order from the Comt. The Coutt may modify this Protective Order sua

   sponte after notice to the parties and without prejudice to the rights of any patty to seek

   additional or different relief from the Comt not specified in this Order.

                  (f)     Nothing in the foregoing provisions of this Protective Order shall affect

   any previous protective order or be deemed to preclude any party from seeking and obtaining,

   upon an appropriate showing, additional protection with respect to the confidentiality of

   documents or other discovery material or relief from this Protective Order with respect to

   patticular designated material.



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                   (g)    Notwithstanding any other provisions of this Protective Order to the

   contrary, the confidentiality obligations of this Protective Order shall not apply or shall cease to

   apply to any information that:

                          i.        at the time of disclosure hereunder, was generally known to the

   public or the document containing the information is already in the public record by publication

   or otherwise;

                          ii.       since the time of disclosure hereunder, has become, through no act

   or failure on the part of the receiving patty, patt of the public domain by publication or

   otherwise;

                          111.      at the time of disclosure, was already in the possession of the

   receiving party and was not acquired directly or indirectly from the producing party or from any

   third patty under obligation of confidence to the producing patty;

                          tv.       after disclosure hereunder, was acquired by the receiving party

   from a third patty lawfully possessing the same and having no obligation to the producing patty

   hereunder;

                          v.        the disclosing party agrees may be disclosed to a third patty under

   no obligation of confidentiality; or

                          v1.       the disclosing patty disclosed to any government entity without

   request for confidential treatment.

                          vii.      The party claiming that it is relieved of the obligation of this

   Protective Order by operation of any paragraph l4(g)(i-vi) shall have the burden of proving that

   any of the provisions of paragraph 14(g)(i-vi) apply.




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                  (h)     This Protective Order shall not bar any attorney herein from rendering

   legal advice to such attorney's client that is based in patton the attorney's analysis or evaluation

   of materials designated as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" that are

   produced or exchanged, provided, however, that in rendering such advice and otherwise

   communicating with his/her client, the attorney shall not disclose the substance of any materials

   designated as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" by another party or third-

   party witness or entity contrary to the tenns of this Protective Order.

          IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD




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   By,

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                                         Counsel for Defendant John Lavin




                                             United States District Court Judge
                                             District of Rhode Island




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                                               EXHIBIT A

                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF RHODE ISLAND


                                                          )
   CVS PHARMACY, INC.,                                    )
                                                          )
                         Plaintiff,                       )
                                                          )
          v.                                              )   Civil Action No. 19-cv-00204 (JJM)
                                                          )
   JOHN LAVIN,                                            )
                                                          )
                       Defendant.                         )
   ___________________________ )

                  ACKNOWLEDGMENT Ai'I/D AGREEMENT TO BE BOUND

          I, _ _ _ _ _ _ _ _ _ _ _ _ _ [print or type full name], of _ _ _ _ _ ___

   [print or type full address], declare under penalty of pe1jury that I have read in its entirety and

   understand the Stipulated Protective Order that was issued by the United States District Comi for

   the District of Rhode Island on [date] in the case ofCVS Pharmacy, Inc., v. John Lavin, Civil

   Action No. 19-cv-00204 (JJM). I agree to comply with and to be bound by all the terms of this

   Stipulated Protective Order and I understand and acknowledge that failure to so comply could

   expose me to sanctions and punishment in the nature of contempt. I solemnly promise that I will

   not disclose in any manner any information or item that is subject to this Stipulated Protective

   Order to any person or entity except in strict compliance with the provisions of this Order.

          I fmther agree to submit to the jurisdiction of the United States District Comt for the

   District of Rhode Island for the purpose of enforcing the terms of this Stipulated Protective

   Order, even if such enforcement proceedings occur after termination of this action.

          I hereby appoint _ _ _ _ _ _ _ _ _ _ _ _ [print or type full name] of

   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [print or type full address and telephone

                                                     19
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   number] as my Rhode Island agent for service of process in connection with this action or any

   proceedings related to enforcement of this Stipulated Protective Order.



          Date: _ _ _ _ _ _ _ _ _ _ _ _ _ __

          City and State where sworn and signed: _ _ _ _ _ _ _ _ _ _ _ _ _ __



          Printed name: _ _ _ _ _ _ _ _ _ _ _ __



          Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ __




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